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                                    UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA



           Xunxian Liu
           _______________________________
                                         Plaintiff

                                 vs.                                             1:22-cv-00157
                                                                Civil Action No.___________


           Georgetown University
           ____________________________________
                                   Defendant


                                            NOTICE OF APPEAL
                  Notice is hereby given this 2nd        day of January                    , 20 25      , that

            Plaintiff Xunxian Liu

           hereby appeals to the United States Court of Appeals for the District of Columbia Circuit from

           the judgment of this Court entered on the   12th            day of December               , 20 24

           in favor of Defendant Georgetown University

           against said denying Plaintiff's motion of reconsideration



                                                                 Attorney Theresa Kraft
                                                        __________________________________________
                                                                    Attorney or Pro Se Litigant



           (Pursuant to Rule 4(a) of the Federal Rules of Appellate Procedure a notice of appeal in a civil
           action must be filed within 30 days after the date of entry of judgment or 60 days if the United
           States or officer or agency is a party)


           CLERK          Please mail copies of the above Notice of Appeal to the following at the addresses
                          indicated:
